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           IN THE UNITED ST ATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                      DELTA DIVISION

KENNETH WRINKLE, JR.                                            PLAINTIFF
#092510

v.                      No. 2:22-cv-2-DPM

DOE and
ARKANSAS COUNTY DEN CENTER                                     DEFENDANT

                            JUDGMENT

     Wrinkle's amended complaint is dismissed without prejudice.



                                                         v
                                 D.P. Marshall Jr.
                                 United States District Judge
                                     JI ,c.,/,A-y )..()).-;_
